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                                 7    Attorneys for Plaintiff Diana Holmes

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                                10                                 UNITED STATES DISTRICT COURT
                                11                                        DISTRICT OF NEVADA
                                12 DIANA HOLMES;                                           CASE NO.: 2:20-cv-00576-RFB-BNW
6675 S. Tenaya Way, Suite 200
   JONES LOVELOCK




                                13                          Plaintiff,
    Las Vegas, NV 89113




                                14 v.                                            STIPULATION AND ORDER TO ALLOW
                                                                                   PLAINTIFF ADDITIONAL TIME TO
                                15 BELLAGIO, LLC, a Nevada limited liability     FILE OPPOSITIONS TO DEFENDANTS’
                                   company; MGM RESORTS INTERNATIONAL,                  MOTIONS TO DISMISS
                                16 a foreign corporation; DOES I through X, and           (FIRST REQUEST)
                                   ROE BUSINESS ENTITIES I through X, inclusive,
                                17
                                                          Defendants.
                                18

                                19          Plaintiff DIANA HOLMES (“Plaintiff”), by and through her respective counsel of record,
                                20 Nicole E. Lovelock, Esq. of Jones Lovelock, and Defendants BELLAGIO, LLC (“Bellagio”) and

                                21 MGM RESORTS INTERNATIONAL (“MGM”) (hereinafter collectively referred to as

                                22 “Defendants”), by and through their respective counsel of record, Kelly Kichline, Esq. of MGM

                                23 Resorts International, hereby agree and stipulate to extend the time for Plaintiff to file her oppositions

                                24 to Defendant MGM’s Motion to Dismiss [Dkt. 21] and to Defendant Bellagio’s Motion for Partial

                                25 Dismissal of Plaintiff’s Complaint or, in the Alternative, for a More Definite Statement [Dkt. 22]

                                26 (collectively the “Motions”) from May 15, 2020 to May 22, 2020.

                                27          This extension is being requested in light of constraints placed on Plaintiff’s counsel due to
                                28 the COVID-19 pandemic. This is the first request for an extension of time as to Plaintiff’s response
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                                 1 to said Motions. This request is made in good faith and not for the purpose of delay.

                                 2         DATED this 14th day of May 2020.

                                 3       JONES LOVELOCK                                  MGM RESORTS INTERNATIONAL

                                 4 By: /s/ Nicole E. Lovelock, Esq.              By: /s/ Kelly Kichline, Esq.
                                       Nicole E. Lovelock, Esq.                      Dana Howell, Esq.
                                 5     Nevada State Bar No. 11187                    Nevada State Bar No. 11607
                                       Stephen A. Davis, Esq.                        Kelly Kichline, Esq.
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                                 7     Las Vegas, Nevada 89113                       Las Vegas, Nevada 89118
                                 8       Attorneys for Plaintiff Diana Holmes        Attorneys for Defendants Bellagio, LLC
                                                                                     And MGM Resorts International
                                 9
                                10

                                11                                               ORDER
                                                                                      ________________________________
                                12         IT IS SO ORDERED.
6675 S. Tenaya Way, Suite 200




                                                                                      RICHARD F. BOULWARE, II
   JONES LOVELOCK




                                13
    Las Vegas, NV 89113




                                                                                                                 _______
                                                                                      UNITED STATES DISTRICT JUDGE
                                                                                 UNITED STATES DISTRICT JUDGE
                                14                                                   DATED this 14th day of May, 2020.

                                15                                                                                            _______
                                                                                 DATE
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